
JCC Medical, P.C., as Assignee of Daguizan, Nadege, Respondent, 
againstAmeriprise Auto &amp; Home, Appellant.




Bruno, Gerbino &amp; Soriano, LLP (Mitchell L. Kaufman, Esq.), for appellant.
The Rybak Firm, PLLC (Damin J. Toell, Esq.), for respondent.

Appeal from a judgment of the Civil Court of the City of New York, Queens County (William A. Viscovich J.), entered December 9, 2014. The judgment, entered pursuant to an order of that court entered November 24, 2014 denying defendant's motion for summary judgment dismissing the complaint and upon, in effect, a search of the record, granting plaintiff summary judgment, awarded plaintiff the principal sum of $3,788.32.




ORDERED that the judgment is reversed, with $30 costs, the order entered November 24, 2014 is vacated, and defendant's motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath (EUOs). Plaintiff opposed the motion. By order entered November 24, 2014, the Civil Court denied defendant's motion and upon, in effect, a search of the record, granted plaintiff summary judgment. A judgment was subsequently entered pursuant to the November 24, 2014 order, awarding plaintiff the principal sum of $3,788.32.
For the reasons stated in JCC Med., P.C. v Ameriprise Auto &amp; Home (54 Misc 3d 142[A], 2017 NY Slip Op 50206[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2017]), the [*2]judgment is reversed, the order entered November 24, 2014 is vacated, and defendant's motion for summary judgment dismissing the complaint is granted.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 15, 2017










